
Ewihg, C. J.
The caption of this indictment Is essentially defective,, The books lav dew® tho rulo, and they are followed *350by the most approved precedents, that the names and style of office, of the persons constituting the court to which the indictment is presented, sjiould be set out. The purpose is to shew that they were competent to hold the court, and had power to take the indictment. 2 Hale C. C. 166; 1 Chit. Cr. Law 331. In this caption, names, it is true, are found, but no allegation that the court was held by them, or the indictment presented before them. As was observed fay the counsel of the state, the deficiency might perhaps have been supplied by one word, but that important word is wanting.
With respect to amendment, no application for the purpose has been made. If desired by the counsel for the state, an application should have been made before the opening of the argument upon the exception, of . the nature of which he had been previously apprized.
Indictment quashed»
